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The Honorable James L. Robart

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE
ACD DISTRIBUTION, LLC, NO. 2:18-cv-01517-JLR

Plaintiff,

 

\PGSED] ORDER GRANTING
| PLAINTIFF ACD DISTRIBUTION,
v. LLC’S, MOTION FOR RELIEF FROM

DEADLINE
WIZARDS OF THE COAST, LLC, IN

NOTE ON MOTION CALENDAR:

Defendant. OCTOBER 30, 2020

 

 

 

 

ORDER

The Court has considered Plaintiff ACD Distribution, LLC’s (*ACD”) Motion for Relief
from Deadline on the papers submitted, and finds that ACD’s one-day delay in filing its
Opposition to Wizards’ Motion for Attorneys Fees and Costs (Dkts. 71, 71-1 & 72} was due to
excusable neglect and thus will be accepted.

IT IS HEREBY ORDERED that ACD’s Motion for Relief is GRANTED and ACD’s
Response Brief to Wizards of the Coast LLC’s Motion for Fees and supporting papers (Dkt. Nos. |
71-72) will be accepted as filed,

if

Hf

[PROPOSED] ORDER GRANTING PLAINTIFF ACD Williams, Kasiner & Gibbs PLLC

: , 601 Union Street, Suite 4100
DISTRIBUTION, LLC’S, MOTION FOR RELIEF FROM DEADLINE Seattle, WA 98101-2380

-1 (206) 628-6600
(2:18-cv-01517-JLR )

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SO ORDERED. |
Dated this 21" dayof _ Oc tuban_, 2020

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United States District Judge
James L, Rob

 

PRESENTED BY:
COUNSEL FOR PLAINTIFF

és/ William T. Hansen

P. Arley Harrel, WSBA No, 05170
William T, Hansen, WSBA No. 51535
Williams Kastner & Gibbs PLLC

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Seattle, Washington 98101

Telephone: 206-628-6600

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/s/ Daniel Janssen

Daniel Janssen (Admitted Pro Hac Vice)
Quarles & Brady LLP ~

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Milwaukee, Wisconsin 53202
Telephone: 414-277-5000

Email: Daniel. janssen@quarles.com

[PROPOSED] ORDER GRANTING PLAINTIFF ACD Williams, Kastner & Gibbs PLLC

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CERTIFICATE OF SERVICE
I hereby certify that on October 20, 2020, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system, which will send notification of such filing to those
attorneys of record registered on the CM/ECF system. Specifically, said notification will be sent
to the following attorneys of record:

James E. Howard, WSBA No. 37259
MaryAnn Almeida, WSBA No, 49086
Davis Wright Tremaine
920 Fifth Ave., Ste., 3300
Seattle, Washington 98104
Telephone: 206-622-3150
Email: JimHoward@dwt.com
Email: MaryAnnAlmeida@dwt.com

DATED this 20th day of October, 2020.

. , psf Elizabeth Morris.
Legal Assistant

[PROPOSED] ORDER GRANTING PLAINTIFF ACD Williams, Kastner & Gibbs PLLC

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